Case 17-31832   Doc 6-1    Filed 11/09/17 Entered 11/09/17 11:40:53   Desc Matrix
                                      Page 1 of 5

                          American Express
                          PO Box 981540
                          El Paso, TX 79998-1540


                          ARS National Services, Inc.
                          PO Box 469046
                          Escondido, CA 92046-9046


                          Barclays Bank DE
                          P.O. Box 8801
                          Wilmington, DE 19899


                          BorrowersFirst, Inc.
                          PO Box 2580
                          Omaha, NE 68103


                          Brock & Scott, PLLC
                          5431 Oleander Dr.
                          Wilmington, NC 28403


                          Capital One
                          Attn: General Correspondence
                          P.O. Box 30285
                          Salt Lake City, UT 84130-0285

                          Capital One Auto Finance
                          7933 Preston Rd.
                          Plano, TX 75024


                          Chase Freedom Cardmember Services
                          PO Box 94014
                          Palatine, IL 60094-4014


                          Discover Card Services, Inc.
                          PO Box 30421
                          Salt Lake City, UT 84130
Case 17-31832   Doc 6-1    Filed 11/09/17 Entered 11/09/17 11:40:53   Desc Matrix
                                      Page 2 of 5

                          First Premier Bank
                          P.O. Box 5524
                          Sioux Falls, SD 57117-5524


                          Hyundai Capital America
                          3161 Michelson Dr., Suite 1900
                          Irvine, CA 92612


                          Internal Revenue Service
                          Centralized Solvency Operation
                          PO Box 7346
                          Philadelphia, PA 19101-7346

                          Kay Jewelers/Sterling Jewlers
                          PO Box 1799
                          Akron, OH 44309


                          King's Creek Plantation
                          191 Cottage Cove Ln
                          Williamsburg, VA 23185


                          Kohls Department Store
                          P.O. Box 3115
                          Milwaukee, WI 53201


                          Kross, Lieberman & Stone
                          991 Aviation Parkway, Suite 30
                          Morrisville, NC 27560


                          Lending Club Corp.
                          71 Stevenson St., Suite 300
                          San Francisco, CA 94105


                          Macy/DSNB
                          PO Box 8066
                          Mason, OH 45040
Case 17-31832   Doc 6-1    Filed 11/09/17 Entered 11/09/17 11:40:53   Desc Matrix
                                      Page 3 of 5

                          Mary Wills
                          7532 Grabill Dr.
                          Charlotte, NC 28269


                          Mecklenburg County Tax Office
                          PO Box 36819
                          Charlotte, NC 28236


                          Medical Data Systems, Inc.
                          2001 9th Ave., Suite 312
                          Verno Beach, FL 32960


                          Merrick Bank
                          PO Box 660702
                          Dallas, TX 75266-0702


                          Midland Credit Management Inc.
                          8875 Aero Dr., Suite 200
                          San Diego, CA 92123


                          North Carolina Department of Revenue
                          P.O. Box 871
                          Raleigh, NC 27602


                          Ocwen Loan Servicing, LLC
                          PO Box 24737
                          West Palm Beach, FL 33416-4737


                          Security Collection Agency, Inc.
                          3200 Croasdaile Dr., Suite 205
                          Durham, NC 27705


                          Shell Card
                          PO Box 6406
                          Sioux Falls, SD 57117
Case 17-31832   Doc 6-1    Filed 11/09/17 Entered 11/09/17 11:40:53   Desc Matrix
                                      Page 4 of 5

                          Smith Debnam Narron Drake Saintsing
                          PO Box 26268
                          Raleigh, NC 27611-6268


                          Social Security Administration
                          Office of the General Counsel, Region IV
                          Atlanta Federal Center, Suite 20T45
                          61 Forsyth St., SW

                          Southbeach Resorts
                          3000 S. Ocean Blvd.
                          Myrtle Beach, SC 29577


                          SYNCB/Amazon
                          PO Box 965060
                          Orlando, FL 32896


                          SYNCB/HH Gregg
                          P.O. Box 965004
                          Orlando, FL 32896-5004


                          SYNCB/Lowes
                          P.O. Box 965060
                          Orlando, FL 32896


                          SYNCB/Paypal
                          PO Box 105972
                          Atlanta, GA 30348-5972


                          SYNCB/Sams Club
                          PO Box 965060
                          Orlando, FL 32896


                          SYNCB/Walmart
                          P.O. Box 965004
                          Orlando, FL 32896-5004
Case 17-31832   Doc 6-1    Filed 11/09/17 Entered 11/09/17 11:40:53   Desc Matrix
                                      Page 5 of 5

                          The Home Depot/CBNA
                          PO Box 6497
                          Sioux Falls, SD 57117


                          WEBBNK/Fingerhut
                          6250 Ridgewood Rd
                          Saint Cloud, MN 56303


                          Wells Fargo
                          P.O. Box 5284
                          Carolstream, IL 60197-5284
